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                              UNITED STATES DISTRICT COURT                     JAM 2 I ?0IS
                               EASTERN DISTRICT OF VIRGINIA
                                       (Alexandria Division)
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                                                    Case No.:
JOHN JOHNSON,
                                                                  :K*v/T&                 Ise/TVU
                Plaintiff,

         vs.                                        CIVIL COMPLAINT
                                                    JURY DEMAND
AMERICAN CREDIT ACCEPTANCE.

                Defendant




         Plaintiff, John Johnson, on behalfof himself (hereinafter "Plaintiff'), by and through his

undersigned attorney, alleges against the Defendant, American Credit Acceptance (hereinafter

"Defendant") as follows:

                                 PRELIMINARY STATEMENT



1.   This is an action for damages arising from Defendant's violations of 47 U.S.C. § 227 et

seq., the Telephone Consumer Protection Act.


                                  JURSIDICTION AND VENUE



2.   This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 and 15 U.S.C.

§1692k(d).


3.   Venue is proper in this district under 28 U.S.C § 1391(b).


                                             PARTIES



4.   Plaintiff is a natural person, who at all relevant times has resided in Arlington, Virginia,

22204.
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5.    Defendant is a corporation doing business in the State of Virginia, with its corporate

address as 961 East Main Street, Spartanburg, South Carolina, 29302, and is a "debt collector" as

defined by 15 U.S.C § 1692a(6).


                                     FACTUAL STATEMENT



6.    Plaintiff took out a car loan that was financed by Defendant.


7.    Due to phone calls being received from Defendant, Plaintiff obtained a new cell phone

number in or about February 2013.


8.    At some point thereafter, Defendant obtained Plaintiff's new cell phone number and began

to call it and Plaintiff told Defendant to cease calling his cell phone.


9.    Plaintiff never gave Defendant consent at any time to call his cell phone number 571-235-

1XXX.



10.   Despite Plaintiffs request for Defendant to cease callinghis cell phone, Defendant placed

at least 120telephone calls to Plaintiffs cell phone on the following approximate dates:


           •   April 7, 2014, eight telephone calls

           •   April 8, 2014, four telephone calls

           •   April 9,2014, four telephone calls

           •   April 14,2014, four telephone calls

           •   April 15, 2014, four telephone calls

           •   April 16,2014, four telephone calls

           •   April 17,2014, four telephone calls

           •   April 18,2019, four telephone calls
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          April 25,2014, four telephone calls

          April 26,2014, one telephone call

          April 27,2014, six telephone calls

          April 28,2014, six telephone calls

          April 29, 2014, seven telephone calls

          April 30, 2014, one telephone call

          May 1, 2014, one telephone call

          May 2, 2014, two telephone calls

          May 3, 2014, one telephone call

          May 4,2014, one telephone call

          May 5,2014, two telephone calls

          May 6, 2014, three telephone calls

          May 7, 2014, one telephone call

          May 8, 2014, one telephone call

          May 9, 2014, three telephone calls

          May 10,2014, one telephone call

          May 11, 2014, one telephone call

          May 12, 2014, two telephone calls

          May 14,2014, three telephone calls

          May 15, 2014, three telephone calls

          May 16, 2014, three telephone calls

          May 17, 2014, one telephone call

          May 18, 2014, one telephone call
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                 May 19, 2014, three telephone calls

                 May 20, 2014, three telephone calls

                 May 21,2014, one telephone call

                 May 22,2014, three telephone calls

                 May 25, 2014, one telephone call

                 May 27,2014, two telephone calls

                 May 28, 2014, three telephone calls

                 May 30, 2014, four telephone calls

                 May 31,2014, one telephone call

                 June 1, 2014, one telephone call

                 June 2, 2014, four telephone calls

11.     The telephone calls to Plaintiff were made from the following phone numbers: 864-752-

        1800 and 866-544-3430.


12.     The telephone numbers 864-752-1800 and 866-544-3430 belong to Defendant.

13.     The telephone calls placed to Plaintiff from Defendant were done using an automated

        dialer



                                              COUNT I
      ONE HUNDRED TWENTY SEPARATE VIOLATIONS OF THE TELEPHONE
                                 CONSUMER PROTECTION ACT
                                       47 U.S.C. 8 227


14.     Plaintiff repeats the allegations contained in paragraphs 1 through 13 and incorporates

them as if set forth at length herein.


15.    All one hundred twenty (120) telephone calls to Plaintiff from Defendant were done

utilizing an automated dialer.
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16.    Defendant's actions constitute one hundred twenty (120) separate violations of 47 U.S.C.

§ 227(b)(l)(A)(iii), to which their falls no exemption to their behavior.


                                     JURY TRIAL DEMAND


17.    Plaintiff demands a jury trial on all issues so triable.



WHEREFORE, Plaintiff, John Johnson, respectfully requests that this Court enterjudgment

against the Defendant, and on behalf of the Plaintiff, for the following:

a.     That an order be entered declaring the Defendant's actions, as described above, in

       violation of the TCPA;

b.     That judgment be entered against Defendant for (120) separate and distinct willful

       violations of 47 U.S.C. § 227b(l)(A)(iii);

c.     That judgment be entered against Defendant for statutory damages in the amount of One

Hundred Eighty Thousand Dollars ($180,000.00) for (120) separate and distinct willful violations

of 47 U.S.C. § 227(b)(l)(A)(iii);

d.     That the Courtgrant such other and further relief as may bejust and proper.

Dated this 19th day of January, 2015

                                               Respectfully Submitted,


                                                    &JLAU*
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